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                UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF MICHIGAN (DETROIT)
__________________________________________________________________

ADAM BONAREK,                       CASE NO. 2:17-cv-10070-BAF-SDD
   Plaintiff,

      vs.                           Judge Bernard A. Friedman
                                    Magistrate Judge Stephanie Dawkins Davis
AMERICAN EXPRESS;
EXPERIAN INFORMATION
SOLUTIONS INC.; TRANS
UNION, LLC; and EXQUIFAX
INFORMATION SERVICES, LLC;
      Defendants.
 __________________________________________________________________

   STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
          AS TO DEFENDANT TRANS UNION, LLC, ONLY
__________________________________________________________________

      Plaintiff Adam Bonarek, by counsel, and Defendant Trans Union, LLC, by

counsel, having agreed to the entry of this Stipulation And Order Of Dismissal

With Prejudice dismissing all claims of Plaintiff Adam Bonarek against Defendant

Trans Union, LLC only, with prejudice, AND THE COURT, having been duly

advised, NOW FINDS that the same should be granted.




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      IT IS, THEREFORE, ORDERED that all claims of Plaintiff Adam Bonarek

against Defendant Trans Union, LLC only are dismissed, with prejudice. Plaintiff

and Trans Union, LLC shall each bear their own costs and attorneys’ fees.




Date: April 14, 2017                        s/ Bernard A. Friedman
                                            SENIIOR JUDGE, United States
                                     District Court, Eastern District of Michigan,
                                     Southern Division




                                     I consent to the entry of this order:



Date: April 13, 2017                 s/ John R. Badeen (with consent)
                                     John R. Badeen, Esq.
                                     Xuereb Law Group, PC
                                     7752 North Canton Center Road
                                     Suite 110
                                     Canton, MI 48187
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                                     Counsel for Plaintiff Adam Bonarek




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Date: April 13, 2017              s/ Debra A. Miller
                                  Laura K. Rang, Esq. (IN #26238-49-A)
                                  Debra A. Miller, Esq. (IN #27254-49)
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                                           dmiller@schuckitlaw.com

                                  Counsel for Defendant, Trans Union, LLC


                                  Brian A. Nettleingham, Esq. (MI #P58966)
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                                  E-Mail: ban@maddinhauser.com

                                  Local Counsel for Defendant, Trans Union,
                                  LLC




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                UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF MICHIGAN (DETROIT)
__________________________________________________________________

ADAM BONAREK,                          CASE NO. 2:17-cv-10070-BAF-SDD
   Plaintiff,

        vs.                            Judge Bernard A. Friedman
                                       Magistrate Judge Stephanie Dawkins Davis
AMERICAN EXPRESS;
EXPERIAN INFORMATION
SOLUTIONS INC.; TRANS
UNION, LLC; and EXQUIFAX
INFORMATION SERVICES, LLC;
      Defendants.
 __________________________________________________________________

                    CERTIFICATE OF SERVICE
__________________________________________________________________

       I, Debra A. Miller, hereby certify that on the 13th day of April, 2017, I
electronically submitted the foregoing using the ECF system and a copy of the
same was sent via e-mail to the following counsel of record:

John R. Badeen, Esq.                        Sidney L. Frank, Esq.
jbadeen@xuereblawgroup.com                  slfrank@wwrplaw.com
Tamara E. Fraser, Esq.
tefraser@wwrplaw.com

       I further certify that on the 13th day of April, 2017, a copy of the foregoing
was sent via U.S., First Class Mail, postage prepaid to the following non-ECF
participants:

None.




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                              s/ Debra A. Miller
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                              Counsel for Defendant, Trans Union, LLC




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